Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 1 of 9




         EXHIBIT 99
                      Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 2 of 9




                     Subject: Re: Consensus Update 110218 - Post Earnings
                       From: Tejas Gala
                Received(Date): Fri, 02 Nov 2018 16:32:10 -0700
                          To: Luca Maestri                        , Matt Blake
                                                        ,Nancy Paxton                        , Gary
                                Wipfler                       ,Saori Casey
                 Attachment: PastedGraphic-3.png
                 Attachment: PastedGraphic-2.png
                 Attachment: PastedGraphic-4.png
                 Attachment: 2018-11-02 Sell Side Update.pdf
                 Attachment: 2018-11-02 Sell Side Update.xlsm
                        Date: Fri, 02 Nov 2018 16:32:10 -0700

               Luca - as discussed I’ve updated the commentary below - note that there was an issue
               with the price target on MCH in our prior publications with First Call and they were at
               $300 before the call as well as I checked prior notes they sent out to verify. I’ve replaced
               them with FBN who increased from $230 to $240.

               All,

               See below for the latest consensus updates after our earnings call. All of my
               commentary is based on the comprehensive figures that we compile from analyst
               reports published over the last 24 hours. These figures will differ from First Call, but are
               more current and detailed.

               Please let me know if you have any questions,
               Tejas

               Price Targets:
               There were two downgrades (BAML and Maxim) that went from Buy to Neutral
               Price target reduced from $222 to $217
               Big movers down include Nomura ($215 to $185), Citi ($265 to $240), and Morgan
               Stanley ($247 to $226)
               There were some price target increases though from DA Davidson ($265 to $290) and
               FBN ($230 to $240)

               Q1
               Revenue estimate is at $92B, down $0.75B from pre-earnings and at the higher end of
               our guidance range ($89B-$93B)
               iPhone Units estimates are 75.7M, but there were many analysts that stopped providing
               their unit forecast during this update
               iPhone revenue estimate is at $61.9B (vs $58.6B internally) which implies an $818 ASP
               which is inline with our internal guidance
               Services revenue estimate is at $10.4B vs $10.6 in our internal guidance




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                      Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 3 of 9



               GM is at 38.3% which is in the midpoint of our guidnace
               EPS is at $4.73 which is towards the higher end of our implied guide

               FY19
               FY19 revenue consensus is ~$281B which is down $1.2B vs pre-earnings - most
               analysts take alot out of Q1, but help their out quarters
               GM% and OpEx have compressed profitability though, as EPS is down $0.36 to $13.44

               Tejas Gala |

               > On Nov 1, 2018, at 7:56 AM, Tejas Gala
               <mailto:                   >> wrote:
               >
               > All,
               >
               > See below for the final consensus update pre-earnings. The update from 10/30 was
               the removal of Mizuho from First Call - we had already had them removed from our
               comprehensive figure. This brings up the first call consensus Revenue and EPS - below
               is a summary table.
               >
               > The drivers of the 5 cent EPS gap are Elazar ($5.59) and Needham ($4.26).
               Normalizing for these outliers, the EPS figure is $4.91.
               > Similarly, on revenue, if you remove Elazar ($100B), Q1 revenue estimate comes in at
               $92.8B. Note the distribution below on where the analysts are landing, with 20 over
               $93B
               >
               > <PastedGraphic-2.png>
               >
               > Let me know if you have any questions,
               > Tejas
               > > <PastedGraphic-1.png>
               >
               > <2018-11-01 Sell Side Update.pdf>
               > <2018-11-01 Sell Side Update.xlsm>
               >
               >
               >
               > Tejas Gala |
               >
               >> On Oct 30, 2018, at 4:36 PM, Tejas Gala
               <mailto                    >> wrote:
               >>
               >> All,
               >>
               >> See below for updated consensus that include the Jeffries initiation and fixed GM%
               from First Call. EPS gap between two methods is explained by Elazar and Needham. If
               you exclude both, Q1’19 EPS is at $4.91.




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                      Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 4 of 9



               >>
               >> Let me know if you have any questions,
               >> Tejas
               >>
               >>
               >> <PastedGraphic-1.png>
               >>
               >> <2018-10-30 Sell Side Update.pdf>
               >> <2018-10-30 Sell Side Update.xlsm>
               >>
               >>
               >> Tejas Gala |
               >>
               >>> On Oct 25, 2018, at 3:31 PM, Tejas Gala
               <mailto:                  >> wrote:
               >>>
               >>> All,
               >>>
               >>> One update - I removed Deutsche Bank from the comprehensive number as they
               have suspended coverage. This tightens the ranges as DB was low and only included in
               comprehensive figures.
               >>>
               >>> The GM in first call error that I referred to comes from Longbow which has input
               GM% in Q1’19 of 44.5% vs 38.5% in their research reports.
               >>>
               >>> The EPS gap is driven by Elazar ($5.59) included in First Call and Needham ($4.26)
               being included in Comprehensive only.
               >>>
               >>> Let me know if any questions,
               >>> Tejas
               >>>
               >>> <PastedGraphic-4.png>
               >>>
               >>>
               >>> <2018-10-25 Sell Side Update.pdf>
               >>> <2018-10-25 Sell Side Update.xlsm>
               >>>
               >>> Tejas Gala |
               >>>
               >>>> On Oct 25, 2018, at 2:53 PM, Tejas Gala
               <mailto                   >> wrote:
               >>>>
               >>>>
               >>>
               >>>>
               >>>> Hi all,
               >>>>




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                       Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 5 of 9



               >>>> See below for the latest update to consensus. Overall, Q1 revenue estimates
               have increased on the back of iPhone ASPs
               >>>>
               >>>> Q1’19 Revenue: $92.8 - $93.0B
               >>>> Q’19 Gross Margin: 38.6% - 38.8%, though I believe there is an error in first call
               and their 38.8% number is too high.
               >>>> Q1’19 EPS: $4.89 - $4.95
               >>>>
               >>>> Let me know if you have any questions,
               >>>> Tejas
               >>>> <2018-10-25 Sell Side Update.pdf>
               >>>>
               >>>> <2018-10-25 Sell Side Update.xlsm>
               >>>>
               >>>>
               >>>> Tejas Gala |
               >>>
               >>
               >




               Luca - as discussed I’ve updated the commentary below - note that there was an issue with the
               price target on MCH in our prior publications with First Call and they were at $300 before the
               call as well as I checked prior notes they sent out to verify. I’ve replaced them with FBN who
               increased from $230 to $240.

               All,

               See below for the latest consensus updates after our earnings call. All of my commentary is based
               on the comprehensive figures that we compile from analyst reports published over the last 24
               hours. These figures will differ from First Call, but are more current and detailed.

               Please let me know if you have any questions,

               Tejas

               Price Targets:

                  • There were two downgrades (BAML and Maxim) that went from Buy to Neutral


                  • Price target reduced from $222 to $217


                  • Big movers down include Nomura ($215 to $185), Citi ($265 to $240), and Morgan Stanley




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                       Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 6 of 9



                      ($247 to $226)


                  • There were some price target increases though from DA Davidson ($265 to $290) and FBN
                     ($230 to $240)


               Q1

                  • Revenue estimate is at $92B, down $0.75B from pre-earnings and at the higher end of our
                     guidance range ($89B-$93B)


                  • iPhone Units estimates are 75.7M, but there were many analysts that stopped providing their
                      unit forecast during this update


                        * iPhone revenue estimate is at $61.9B (vs $58.6B internally) which implies an $818
                           ASP which is inline with our internal guidance


                  • Services revenue estimate is at $10.4B vs $10.6 in our internal guidance


                  • GM is at 38.3% which is in the midpoint of our guidnace


                  • EPS is at $4.73 which is towards the higher end of our implied guide



                      FY19

                        • FY19 revenue consensus is ~$281B which is down $1.2B vs pre-earnings - most
                           analysts take alot out of Q1, but help their out quarters

                        • GM% and OpEx have compressed profitability though, as EPS is down $0.36 to
                           $13.44




                                               Tejas Gala |




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                      Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 7 of 9




                        On Nov 1, 2018, at 7:56 AM, Tejas Gala <                    > wrote:

                        All,

                        See below for the final consensus update pre-earnings. The update from 10/30 was the
                        removal of Mizuho from First Call - we had already had them removed from our
                        comprehensive figure. This brings up the first call consensus Revenue and EPS -
                        below is a summary table.

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                        Similarly, on revenue, if you remove Elazar ($100B), Q1 revenue estimate comes in
                        at $92.8B. Note the distribution below on where the analysts are landing, with 20 over
                        $93B

                        <PastedGraphic-2.png>

                        Let me know if you have any questions,

                        Tejas

                        <PastedGraphic-1.png>

                        <2018-11-01 Sell Side Update.pdf>

                        <2018-11-01 Sell Side Update.xlsm>

                                            Tejas Gala |

                         On Oct 30, 2018, at 4:36 PM, Tejas Gala                       wrote:

                         All,

                         See below for updated consensus that include the Jeffries initiation and fixed GM% from First
                         Call. EPS gap between two methods is explained by Elazar and Needham. If you exclude both,
                         Q1’19 EPS is at $4.91.

                         Let me know if you have any questions,
                         Tejas

                         <PastedGraphic-1.png>

                         <2018-10-30 Sell Side Update.pdf>

                         <2018-10-30 Sell Side Update.xlsm>




Highly Confidential                                         6                                         APL-SECLIT_00284226
                      Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 8 of 9




                                                  Tejas Gala |

                         On Oct 25, 2018, at 3:31 PM, Tejas Gala                      > wrote:

                         All,
                         One update - I removed Deutsche Bank from the comprehensive number as they have
                         suspended coverage. This tightens the ranges as DB was low and only included in
                         comprehensive figures.

                         The GM in first call error that I referred to comes from Longbow which has input GM% in
                         Q1’19 of 44.5% vs 38.5% in their research reports.

                         The EPS gap is driven by Elazar ($5.59) included in First Call and Needham ($4.26) being
                         included in Comprehensive only.

                         Let me know if any questions,
                         Tejas

                         <PastedGraphic-4.png>

                         <2018-10-25 Sell Side Update.pdf>

                         <2018-10-25 Sell Side Update.xlsm>

                                                  Tejas Gala |

                         On Oct 25, 2018, at 2:53 PM, Tejas Gala                        wrote:

                         Hi all,

                         See below for the latest update to consensus. Overall, Q1 revenue estimates have increased on
                         the back of iPhone ASPs

                         Q1’19 Revenue: $92.8 - $93.0B
                         Q’19 Gross Margin: 38.6% - 38.8%, though I believe there is an error in first call and their
                         38.8% number is too high.
                         Q1’19 EPS: $4.89 - $4.95

                         Let me know if you have any questions,
                         Tejas

                         <2018-10-25 Sell Side Update.pdf>

                         <2018-10-25 Sell Side Update.xlsm>

                                                  Tejas Gala |




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                      Case 4:19-cv-02033-YGR Document 298-1 Filed 09/09/22 Page 9 of 9




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